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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,


                                                              DECISION AND ORDER
             v.                                                   99-CR-131A


MOHAMMED ABUHAMRA,

                                  Defendant.



             Currently before the Court is the motion of defendant Mohammed

Abuhamra for release pending appeal. The government opposes the motion. Oral

argument on the motion was held on January 19, 2006.

             After reviewing the submissions of the parties and hearing argument from

counsel, the Court denies defendant’s motion for release pending appeal.

             Defendant’s motion for release pending appeal is governed by 18 U.S.C.

§ 3143(b)(1), which provides in pertinent part:

      [T]he judicial officer shall order that a person who has been found guilty of
      an offense and sentenced to a term of imprisonment, and who has filed
      an appeal or a petition for a writ of certiorari, be detained, unless the
      judicial officer finds--

             (A)    by clear and convincing evidence that the person is not likely
                    to flee or pose a danger to the safety of any other person or
                    the community if released under section 3142(b) or (c) of
                    this title; and

             (B)    that the appeal is not for the purpose of delay and raises a
                    substantial question of law or fact likely to result in –

                    (i)    reversal,
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                     (ii)    an order for a new trial,

                     (iii)   a sentence that does not include a term of imprisonment, or

                     (iv)    a reduced sentence to a term of imprisonment less than the
                             total of the time already served plus the expected duration of
                             the appeal process.

              Defendant has failed to raise a “substantial question of law” that will likely

result in reversal, a new trial or a shorter sentence. Accordingly, his motion for release

must be denied.

              The Court hereby orders the defendant to surrender himself at the date,

time and location designated by the United States Marshal’s Service or the Federal

Bureau of Prisons.


              IT IS SO ORDERED.
                                           /s/   Richard J. Arcara
                                           HONORABLE RICHARD J. ARCARA
                                           CHIEF JUDGE
                                           UNITED STATES DISTRICT COURT

DATED: January         20    , 2006




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